                                 EXHIBIT 3




Case 3:20-cv-00628 Document 41-3 Filed 06/16/21 Page 1 of 12 PageID #: 697
                                                            O'Connor 000366
Case 3:20-cv-00628 Document 41-3 Filed 06/16/21 Page 2 of 12 PageID #: 698
                                                            O'Connor 000367
Case 3:20-cv-00628 Document 41-3 Filed 06/16/21 Page 3 of 12 PageID #: 699
                                                            O'Connor 000368
Case 3:20-cv-00628 Document 41-3 Filed 06/16/21 Page 4 of 12 PageID #: 700
                                                            O'Connor 000369
Case 3:20-cv-00628 Document 41-3 Filed 06/16/21 Page 5 of 12 PageID #: 701
                                                            O'Connor 000370
Case 3:20-cv-00628 Document 41-3 Filed 06/16/21 Page 6 of 12 PageID #: 702
                                                            O'Connor 000371
Case 3:20-cv-00628 Document 41-3 Filed 06/16/21 Page 7 of 12 PageID #: 703
                                                            O'Connor 000372
Case 3:20-cv-00628 Document 41-3 Filed 06/16/21 Page 8 of 12 PageID #: 704
                                                            O'Connor 000373
Case 3:20-cv-00628 Document 41-3 Filed 06/16/21 Page 9 of 12 PageID #: 705
                                                            O'Connor 000374
Case 3:20-cv-00628 Document 41-3 Filed 06/16/21 Page 10 of 12 PageID #: 706
                                                            O'Connor 000375
Case 3:20-cv-00628 Document 41-3 Filed 06/16/21 Page 11 of 12 PageID #: 707
                                                            O'Connor 000376
Case 3:20-cv-00628 Document 41-3 Filed 06/16/21 Page 12 of 12 PageID #: 708
                                                            O'Connor 000377
